Case 6:21-cv-01100-EFM   Document 207-45   Filed 09/29/23   Page 1 of 6




 EXHIBIT 73
Case 6:21-cv-01100-EFM   Document 207-45     Filed 09/29/23   Page 2 of 6




            Redacted

                             Redacted AM




                                  Redacted




                                      AM



     Redacted




                                                        Redacted
Case 6:21-cv-01100-EFM   Document 207-45      Filed 09/29/23    Page 3 of 6




           Redacted
                                                         Redacted




                                           AM



                                   Redacted          Redacted




     Redacted
Case 6:21-cv-01100-EFM   Document 207-45   Filed 09/29/23   Page 4 of 6




                 Redacted




     Redacted




                         AM




                                         Redacted
                                    AM         Redacted
                         Redacted


                                   Redacted
                          AM
                          Redacted
      Redacted
Case 6:21-cv-01100-EFM   Document 207-45   Filed 09/29/23   Page 5 of 6




             Redacted
     Redacted




      Redacted




      Redacted



                     Redacted
Case 6:21-cv-01100-EFM      Document 207-45   Filed 09/29/23   Page 6 of 6




            Redacted
     Redacted



                         Redacted




                Redacted



                     Redacted




     Redacted
